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                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF TEXAS
                                GALVESTON DIVISION

TERRY AUSAMA                                *       CIVIL ACTION NO. 3:19-cv-00015

VERSUS                                      *

ARENA OFFSHORE, LP, et al.                  *       JURY TRIAL DEMANDED

*      *       *      *      *       *      *

              ANSWER TO PLAINTIFF’S SECOND AMENDED COMPLAINT

       NOW INTO COURT, through undersigned counsel, comes Danos, L.L.C. (“Danos”),

and for its answer to Plaintiff’s Second Amended Complaint, avers upon information and belief

as follows:

                                         FIRST DEFENSE

       The Second Amended Complaint fails to state a claim against Danos upon which relief

can be granted.

                                     SECOND DEFENSE

       The claims of plaintiff against Danos are barred by the borrowed servant doctrine, the

statutory employer doctrine, the dual contract doctrine, and/or as co-employees under the

applicable workers compensation statutes.

                                         THIRD DEFENSE

       Venue in this Court is improper and/or this Court is an inconvenient forum for this

matter, which should be transferred on grounds of forum non conveniens.

                                     FOURTH DEFENSE

       AND NOW ANSWERING the particular allegations of the Second Amended Complaint,

Danos avers as follows:
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                                                     I.

        Danos denies the allegations of subparagraphs 1.1 through 1.3 of paragraph I of the

Second Amended Complaint which pertain to other parties for lack of knowledge or information

sufficient to form a belief in the truth thereof.

        Danos admits it is a Louisiana limited liability company doing business in the state of

Texas with an appointed agent for service of process as set forth in subparagraph 1.4. Except as

specifically admitted, Danos denies the truth of the allegations of paragraph I of the Second

Amended Complaint which pertain to it.

                                                    II.

        Danos submits paragraph II contains statements of law which do not require answer on

its part. Should this Honorable Court require an answer, Danos admits the truth of the

allegations of paragraph II of the Second Amended Complaint.

                                                    III.

        Danos submits paragraph III contains statements of law which do not require answer on

its part. Should this Honorable Court require an answer, Danos denies the truth of the

allegations of paragraph III of the Second Amended Complaint. Danos submits venue in this

district in improper for the claims against it.

                                                    IV.

        Danos admits the truth of the allegations subparagraph 4.1 of paragraph IV of the Second

Amended Complaint.




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       Danos denies the truth of the allegations subparagraph 4.2 of paragraph IV of the Second

Amended Complaint for lack of knowledge or information sufficient to form a belief in the truth

thereof.

       Danos denies the truth of the allegations subparagraph 4.3 of paragraph IV of the Second

Amended Complaint.

                                              V.

       Danos denies the truth of the allegations subparagraph 5.1 of paragraph V of the Second

Amended Complaint.

       Danos denies the truth of the allegations subparagraph 5.2 of paragraph V of the Second

Amended Complaint.

       Danos denies the truth of the allegations subparagraph 5.3 of paragraph V of the Second

Amended Complaint.

       Danos denies the truth of the allegations subparagraph 5.4 of paragraph V of the Second

Amended Complaint.

       Danos denies the truth of the allegations subparagraph 5.5 of paragraph V of the Second

Amended Complaint.

                                              VI.

       Danos denies the truth of the allegations subparagraph 6.1 of paragraph VI of the Second

Amended Complaint.

       Danos denies the truth of the allegations subparagraph 6.2 of paragraph VI of the Second

Amended Complaint.




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                                                VII.

       Danos submits paragraph VII contains statements of law which do not require answer on

its part. Should this Honorable Court require an answer, Danos denies the truth of the

allegations of paragraph VII of the Second Amended Complaint.

                                                VIII.

       Danos submits paragraph VIII contains statements of law which do not require answer on

its part. Should this Honorable Court require an answer, Danos denies that plaintiff is entitled to

trial by jury as asserted in paragraph VIII of the Second Amended Complaint.

                                         FIFTH DEFENSE

       AND NOW FURTHER answering, Danos avers in the alternative that the damages

alleged by plaintiff, if any exist, which is specifically denied, were caused solely by the fault and

negligence of plaintiff, or others for whom Danos has no responsibility, which precludes and

bars plaintiff’s recovery herein.

                                        SIXTH DEFENSE

       AND NOW FURTHER answering, Danos avers in the alternative that, if it is found that

the plaintiff suffered damages as a result of the negligence of anyone for whom Danos could or

might be responsible, or because of the condition of any vessel or equipment for which Danos

was responsible, all of which is specifically denied, the damages of plaintiff were also caused by

and/or contributed to by and/or aggravated by plaintiff’s own negligence, and/or the negligence

of others for whom Danos is not responsible, and Danos is entitled to have any award or

recovery mitigated and reduced accordingly.




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                                      SEVENTH DEFENSE

       AND NOW FURTHER answering, Danos avers that if plaintiff sustained any injuries as

alleged, which is denied, that plaintiff has failed to mitigate his damages, and such failure

operates to bar or mitigate the damages claimed by plaintiff herein.

                                       EIGHTH DEFENSE

       AND NOW FURTHER answering, Danos avers that if plaintiff sustained any injuries as

alleged, which is denied, those injuries were caused in whole or in part by the ordinary and

normal risks incident to his occupation and for which defendant is not liable.

                                        NINTH DEFENSE

       AND NOW FURTHER answering, Danos avers that if plaintiff sustained any injuries as

alleged, which is denied, those injuries were caused in whole or in party by his own actions,

misconduct, breach of employment duties, fault, neglect, or inattention to duty which operate to

bar or mitigate any claim herein.

                                        TENTH DEFENSE

       AND NOW FURTHER answering, Danos avers that if plaintiff sustained any injuries as

alleged, which is denied, those injuries were caused by pre-existing conditions, ailments or

injuries for which defendant is in no way liable.

                                     ELEVENTH DEFENSE

       Plaintiff has not included claims against the owner/operator of the M/V EMELIE ROSE,

a required party under Rule 19 of the Federal Rules of Civil Procedure.




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                                      TWELFTH DEFENSE

       Danos reserves the right to supplement this answer with additional affirmative defenses

as they are revealed through discovery.

       WHEREFORE, the premises considered, Danos prays that this, its answer to the Second

Amended Complaint of Terry Ausama be deemed good and sufficient, and that after due

proceedings had, there be a judgment in its favor and against plaintiff, dismissing the Second

Amended Complaint , at plaintiff’s cost, and for all other general and equitable relief.

                                                  Respectfully submitted,

                                                     /s/ Michael H. Bagot, Jr.
                                                  _______________________________________
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                                                  Attorneys for Defendant, Danos, L.L.C.

                                CERTIFICATE OF SERVICE

       I hereby certify that a copy of the above and foregoing pleading has been served upon all

counsel of record through the Court’s Case Management Electronic Case Files’ electronic filing

system on this 29th day of October 2019.

                                                     /s/ Michael H. Bagot, Jr.
                                                  _______________________________________
                                                  MICHAEL H. BAGOT, JR.

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